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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT, LLC and
 ELLIOTT BROIDY,
                                                           Case No. 19-cv-00150-DLF
                                       Plaintiffs,

                           v.

 NICOLAS D. MUZIN, GREGORY HOWARD,
 STONINGTON STRATEGIES LLC,

                                       Defendants.

                                   JOINT STATUS REPORT

       Pursuant to the Court’s October 13, 2023 Order, Plaintiffs Broidy Capital Management,

LLC and Elliott Broidy (together, “Plaintiffs”) and Defendants Nicolas D. Muzin, Stonington

Strategies LLC, and Gregory Howard (together, “Defendants”), by counsel, hereby submit this

Joint Status Report regarding the remainder of discovery in this case.

       1.      Pursuant to the Court’s October 13, 2023 Order (ECF 227), Defendants will

produce no later than today, October 20, 2023, the documents and communications over which

Qatar asserted privileges and immunities in its privilege logs.

       2.      In the interest of completing any remaining discovery expeditiously and raising any

remaining discovery disputes with the Court on a unified track, the parties propose the following

revised schedule:


                         Event                                    New Deadline*
 Deadline to complete document productions and          November 17, 2023
 written responses to all outstanding requests served
 prior to October 13, 2023
 Deadline to complete document productions and          February 2, 2024
 written responses to all discovery requests served
 on or after October 13, 2023
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 Parties shall meet and confer and complete            February 5, 2024 to February 23, 2024
 supplemental productions, if any, to narrow
 discovery disputes
 Deadline to raise all discovery disputes to the Court March 8, 2024
 via joint submission
 Completion of document discovery                      21 days after resolution of discovery
                                                       disputes
 Deadline to amend pleadings                           14 days after completion of document
                                                       discovery
 Close of fact discovery                               84 days after completion of document
                                                       discovery
 Proponent’s expert disclosure                         28 days after close of fact discovery
 Opponent’s expert disclosure                          28 days after proponent’s expert
                                                       disclosure
 Close of expert discovery                             28 days after opponent’s expert
                                                       disclosure
 Deadline to make dispositive motions                  28 days after close of expert discovery

* To the extent that this day falls on a weekend or holiday, the deadline will be the next
  business day.




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Dated: October 20, 2023

Respectfully submitted,

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